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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of New York
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Jason Industries, Inc.


                                                 Quinpario Acquisition Corp
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          833 E. Michigan Street                                      777 Westchester Avenue
                                          Number            Street                                    Number         Street

                                          Suite 900                                                   Suite 101


                                          Milwaukee, Wisconsin 53202                                  White Plains, New York 10604
                                                                                                      City                         State      Zip Code

                                          City                            State      Zip Code
                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Milwaukee County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://www.jasoninc.com/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




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Debtor            Jason Industries, Inc.                                             Case number (if known)
           Name



                                              A. Check One:
7.   Describe debtor’s business
                                              ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                              ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                              ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                              ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                              ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                              ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                              ☒ None of the above

                                              B. Check all that apply:
                                              ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                              ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                              ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              3261, 3132, 3363, 3399, 3279

8. Under which chapter of the                 Check One:
   Bankruptcy Code is the
   debtor filing?                             ☐ Chapter 7

                                              ☐ Chapter 9

                                              ☒ Chapter 11. Check all that apply:
     A debtor who is a “small business                          ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     debtor” must check the first sub-                            aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     box. A debtor as defined in §                                affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
     1182(1) who elects to proceed                                balance sheet, statement of operations, cash-flow statement, and federal income tax
     under subchapter V of chapter 11                             return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
     (whether or not the debtor is a                              1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                  ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
                                                                  liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
                                                                  and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                                  selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if any of these documents do not exist,
                                                                  follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                ☒ A plan is being filed with this petition.

                                                                ☒ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                  Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                              ☐ Chapter 12

9. Were prior bankruptcy cases             ☒ No
   filed by or against the debtor          ☐ Yes.    District                           When                       Case number
   within the last 8 years?                                                                      MM/DD/YYYY
     If more than 2 cases, attach a                  District                           When                       Case number
     separate list.                                                                              MM/DD/YYYY




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Debtor           Jason Industries, Inc.                                                 Case number (if known)
          Name



10. Are any bankruptcy cases                ☐ No
    pending or being filed by a             ☒ Yes.                                                                      Relationship    Affiliate
                                                         Debtor        See attached Schedule 1
    business partner or an
    affiliate of the debtor?                             District     Southern District of New York
   List all cases. If more than 1,                                                                                      When            06/24/2020
   attach a separate list.                             Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this          Check all that apply:
    district?
                                           ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have            ☒ No
    possession of any real                 ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                          Number          Street



                                                                                          City                                  State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.         Insurance agency

                                                                    Contact name
                                                                    Phone




                       Statistical and administrative information

13. Debtor's estimation of                Check one:
    available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of                   ☐     1-49                         ☐     1,000-5,000                      ☐     25,001-50,000
    creditors (on a                       ☐     50-99                        ☒     5,001-10,000                     ☐     50,001-100,000
    consolidated basis)                   ☐     100-199                      ☐     10,001-25,000                    ☐     More than 100,000
                                          ☐     200-999




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Debtor           Jason Industries, Inc.                                                   Case number (if known)
          Name



15. Estimated assets (on a                ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)                   ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                          ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                          ☐       $500,001-$1 million        ☒     $100,000,001-$500 million              ☐    More than $50 billion



16. Estimated liabilities (on             ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
    a consolidated basis)                 ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                          ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                          ☐      $500,001-$1 million          ☒    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of              petition.
    debtor
                                              I have been authorized to file this petition on behalf of the debtor.
                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                              Executed on            06/24/2020
                                                                   MM/ DD / YYYY


                                                   /s/ Kevin Kuznicki                                                 Kevin Kuznicki
                                                   Signature of authorized representative of debtor                Printed name

                                                   Title   Sr. Vice President, General Counsel &
                                                           Secretary




18. Signature of attorney                          /s/ Jonathan S. Henes                                          Date        6/24/2020
                                                   Signature of attorney for debtor                                           MM/ DD/YYYY



                                                   Jonathan S. Henes
                                                   Printed name
                                                   Kirkland & Ellis LLP
                                                   Firm name
                                                   601 Lexington Avenue
                                                   Number               Street
                                                   New York                                                               New York          10022
                                                   City                                                                   State               ZIP Code
                                                   (212) 446-4800                                                         jonathan.henes@kirkland.com
                                                   Contact phone                                                               Email address
                                                   2822203                                             New York
                                                   Bar number                                          State




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Official Form 201A (12/15)
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                               )
         In re:                                                                )     Chapter 11
                                                                               )
         JASON INDUSTRIES, INC.,                                               )     Case No. 20-___________(___)
                                                                               )
                                           Debtor.                             )
                                                                               )
             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

              1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
          number is   001-36051

              2. The following financial data is the latest available information and refers to the debtor’s condition on
          June 24, 2020
                  (a)   Total assets1                                                $   204,886,939
                  (b)   Total debts (including debts listed in 2.c., below)          $   428,374,343
                  (c)   Debt securities held by more than 500 holders                    See comment
                                                                                                             Approximate
                                                                                                             number of
                                                                                                             holders:
                  secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment
                  secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment
                  secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment
                  secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment
                  secured     ☐    unsecured     ☐    subordinated      ☐     $                                       See comment


                  (d)   Number of shares of preferred stock                                                  44,827
                  (e)   Number of shares of common stock     2                                               29,250,911


                  Comments, if any:


                                                                    Jason Industries is a global industrial manufacturing company operating
                                                                        in two segments: industrial and engineered components. The
                                                                        industrial segment’s product lines are comprised of industrial
                                                                        brushes, polishing buffs and compounds, abrasives, and roller
                                                                        technology products that are used in a broad range of industrial and
                                                                        infrastructure applications. The engineered components segment’s
                                                                        product line includes motorcycle seats; operator seats for
                                                                        construction, agriculture, lawn and turf care and other industrial
                                                                        equipment markets; and seating for the power sports market, all
                  3.    Brief description of debtor’s business:         under the Milsco brand.


               4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
          voting securities of debtor3: Wynnefield Partners Small Cap Value, L.P.; Wynnefield Partners Small Cap Value, L.P. I;
          Wynnefield Capital Management, LLC; Wynnefield Capital, Inc.; Nelson Obus; Joshua Landes, Jeffry N. Quinn, Corre
          Partners Advisors, LLC; FrontFour Capital Group, LLC; Ephraim Fields



1   Total assets and total debts included in this Official Form 201A are being provided on a consolidated basis.

2   As of June 16, 2020.

3   As of March 27, 2020.

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 Fill in this information to identify the case:
                                                                 ,
 United States Bankruptcy Court for the:
                      Southern District of New York
                                     (State)                                              ☐ Check if this is an
 Case number (if                                                                              amended filing
 known):                                          Chapter   11



                                              Rider 1
               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title
11 of the United States Code. The Debtors have moved for joint administration of these cases under the
case number assigned to the chapter 11 case of Jason Industries, Inc.

        Jason Industries, Inc.
        Jason Partners Holdings Inc.
        Jason Holdings, Inc. I
        Jason Incorporated
        Milsco, LLC
        Osborn, LLC
        Schaffner Manufacturing Co., Inc.
        Jason International Holdings, Inc.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                       )
     In re:                                                            )       Chapter 11
                                                                       )
     JASON INDUSTRIES, INC.,                                           )       Case No. 20-___________(___)
                                                                       )
                                    Debtor.                            )
                                                                       )

                                            LIST OF EQUITY SECURITY HOLDERS4

                                                                                                                      Percentage of
     Debtor                           Equity Holders                       Address of Equity Holder
                                                                                                                      Equity Held
                                      Wynnefield Partners /                450 7th Avenue, Suite 509
     Jason Industries, Inc.                                                                                           18.2%
                                      Wynnefield Capital5                  New York, NY 10123
                                                                           12935 N. 40 Dr., Suite 201
     Jason Industries, Inc.           Jeffry N. Quinn                                                                 10.4%
                                                                           St. Louis, MO 63141
                                      Corre Partners Advisors,             12 East 49th Street, 40th Floor
     Jason Industries, Inc.                                                New York, New York 10017                   9.6%
                                      LLC
                                                                           c/o Echo Lake Capital,
     Jason Industries, Inc.           Ephraim Fields                       501 Madison Avenue, Floor 12A,             5.6%
                                                                           New York, New York 10022
                                                                           35 Mason Street, 4th Floor
     Jason Industries, Inc.           FrontFour Capital LLC                                                           5.4%
                                                                           Greenwich, CT 06830




 4      This list reflects holders of five percent or more of Jason Industries, Inc.’s common stock. This list serves as the disclosure
        required to be made by the debtor pursuant to rule 1007 of the Federal Rules of Bankruptcy Procedure. By the Debtors’ Motion
        for Entry of Interim and Final Orders (I) Authorizing the Debtors to File a Consolidated List of Creditors in Lieu of Submitting a
        Separate Mailing Matrix for Each Debtor, (II) Authorizing the Debtors to File a Consolidated List of the Debtors’ Thirty Largest
        Unsecured Creditors, (III) Authorizing the Debtors to Redact Certain Personally Identifiable Information for the Debtors’
        Employees, (IV) Approving the Form and Manner of Notifying Creditors of the Commencement, (V) Waiving Requirements to
        File Lists of Equity Holders, and (VI) Granting Related Relief filed contemporaneously herewith, the Debtor is requesting a waiver
        of the requirement under Bankruptcy Rule 1007 to file a list of all of its equity security holders All equity positions listed are as
        of the date of commencement of the chapter 11 case.

 5      Certain Wynnefield Partners / Wynnefield Capital entities are deemed to be the beneficial owners of approximately 18.2% of
        the common equity in aggregate, held through Wynnefield Partners Small Cap Value, L.P.; Wynnefield Partners Small Cap
        Value, L.P. I; Wynnefield Partners Small Cap Value Offshore Fund, Ltd.; Wynnefield Capital, Inc. Profit Sharing Plan;
        Wynnefield Capital Management, LLC; and Wynnefield Capital, Inc.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 JASON INDUSTRIES, INC.,                              )    Case No. 20-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

     Wynnefield Capital Management, LLC                                         12.99%
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    Fill in this information to identify the case and this filing:

   Debtor Name          Jason Industries, Inc.

   United States Bankruptcy Court for the:                Southern District of New York
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 35 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement



    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Kevin Kuznicki
                                       06/24/2020
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Kevin Kuznicki
                                                                                 Printed name
                                                                                 Sr. Vice President, General Counsel & Secretary
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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           Consolidated List of the Holders of the Debtors’ 35 Largest Unsecured Claims

         Pursuant to Local Rule 1007-2(a)(4), the following is a consolidated list of the Debtors’
creditors holding the 35 largest unsecured claims (the “Consolidated Creditor List”) based on the
Debtors’ unaudited books and records as of the Petition Date. The Consolidated Creditor List has
been prepared in accordance with Bankruptcy Rule 1007(d) and does not include (i) persons who
come within the definition of “insider” set forth in section 101(31) of the Bankruptcy Code or
(ii) secured creditors, unless the value of the collateral is such that the unsecured deficiency places
the creditor among the holders of the 35 largest unsecured claims.

        The information contained herein shall not constitute an admission of liability by, nor is it
binding on, the Debtors. The Debtors reserve all rights to assert that any debt or claim included
herein is a disputed claim or debt, and to challenge the priority, nature, amount, or status of any
such claim or debt. In the event of any inconsistencies between the summaries set forth below and
the respective corporate and legal documents relating to such obligations, the descriptions in the
corporate and legal documents shall control.

    Name of creditor and         Name, telephone        Nature of        Indicate if               Amount of claim
      complete mailing          number and email         claim            claim is
    address, including zip      address of creditor    (for example,    contingent,    If the claim is fully unsecured, fill in only
             code                    contact            trade debts,   unliquidated        unsecured claim amount. If claim is
                                                        bank loans,    , or disputed   partially secured, fill in total claim amount
                                                        professional                     and deduction for value of collateral or
                                                       services, and                       setoff to calculate unsecured claim.
                                                        government
                                                         contracts)

                                                                                        Total         Deduction        Unsecured
                                                                                       claim, if      for value         Claim
                                                                                       partially          of
                                                                                       secured        collateral
                                                                                                                   1
                                                                                                       or setoff

        WILMINGTON
                              C/O SEWARD &
        SAVINGS FUND
                              KISSEL LLP
        SOCIETY, FSB AS
                              ONE BATTERY PARK
        AGENT ON
                              PLAZA
        BEHALF OF THE
                              NEW YORK, NY 10004
    1   SECOND LIEN                                     2L Loans                                                       $94,618,257
                              ATTN: GREGG S.
        LENDERS
                              BATEMAN
        500 DELAWARE
                              (E)
        AVENUE
                              BATEMAN@SEWKIS.
        WILMINGTON, DE
                              COM
        19801
        UNIROYAL
                              JANICE DIXSON
        ENGINEERED
                              (P) 941-906-8580
        PRODUCTS                                          Trade
    2                         (E)                                                                                       $557,459
        P.O. BOX 865066                                  Payable
                              JDIXSON@UNIROYAL
        ORLANDO, FL
                              GLOBAL.COM
        32886-5066




1   The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.
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 Name of creditor and       Name, telephone       Nature of         Indicate if               Amount of claim
   complete mailing        number and email        claim             claim is
 address, including zip    address of creditor    (for example,    contingent,    If the claim is fully unsecured, fill in only
          code                  contact            trade debts,   unliquidated        unsecured claim amount. If claim is
                                                   bank loans,    , or disputed   partially secured, fill in total claim amount
                                                   professional                     and deduction for value of collateral or
                                                  services, and                       setoff to calculate unsecured claim.
                                                   government
                                                    contracts)

                                                                                   Total         Deduction        Unsecured
                                                                                  claim, if      for value         Claim
                                                                                  partially          of
                                                                                  secured        collateral
                                                                                                              1
                                                                                                  or setoff

                          CECI PRATT
     REGENCY
                          (P) 989-269-9791 EXT
     PLASTICS, INC.
                          6902                       Trade
3    4147 NORTH UBLY                                                                                               $454,173
                          (E)                       Payable
     ROAD
                          CPRATT@GEMINIGR
     UBLY, MI 48475
                          OUP.NET
     O'SULLIVAN           JULIE MCCLOUD
     FILMS, INC.          (P) 540-545-4767
                                                     Trade
4    P.O. BOX 505524      (E)                                                                                      $439,374
                                                    Payable
     ST. LOUIS, MO        JULIE.MCCLOUD@OS
     63150-5524           UL.COM
     BASF                 MARTIN GAMAMOU
     CORPORATION          (P) 973-245-6783
                                                     Trade
5    P.O. BOX 360941      (E)                                                                                      $296,208
                                                    Payable
     PITSBURGH, PA        MARTIN.GAMAMOU
     15251                @BASF.COM

     GLOBAL TRANZ         AMY HERNANDEZ
     7350 N DOBSON RD     (P) 480-339-5809
                                                     Trade
6    STE 130              (E)                                                                                      $190,838
                                                    Payable
     SCOTTSDALE, AZ       AMY.HERNANEZ@GL
     85256                OBALTRANZ.COM

     HATFIELD &           CARRIE GRAUE
     ASSOCIATES LLC       (P) 901-300-8445
                                                     Trade
7    5100 POPLAR AVE      (E)                                                                                      $158,292
                                                    Payable
     STE 3119             CGRAY@HATFIELDA
     MEMPHIS, TN 38137    ND ASSOCIATES.COM
     RELIANCE
     WEAVING MILLS
                          ADNAN
     LTD
                          (P) +92 061-4512031-2
     2ND FLOOR, TRUST                                Trade
8                         (E)                                                                                      $127,907
     PLAZA                                          Payable
                          INFO@TEXPRO.COM.
     L.M.Q ROAD
                          PK
     MULTAN 66000
     PAKISTAN
                          SYDNEY SIMON
     KAPCO, INC.
                          (P) 262-377-6500
     P.O. BOX 227                                    Trade
9                         (E)                                                                                      $124,976
     GRAFTON, WI                                    Payable
                          SIMON@KAPCOINC.C
     53024
                          OM
     SHIELD
     RESTRAINT            ROBIN LINZY
     SYSTEMS              (P) 574-970-2664
                                                     Trade
10   7424 SOLUTION        (E)                                                                                      $124,245
                                                    Payable
     CENTER               RLINZY@TRUSTSHIE
     CHICAGO, IL 60677-   LD.COM
     7004




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 Name of creditor and       Name, telephone      Nature of         Indicate if               Amount of claim
   complete mailing        number and email       claim             claim is
 address, including zip    address of creditor   (for example,    contingent,    If the claim is fully unsecured, fill in only
          code                  contact           trade debts,   unliquidated        unsecured claim amount. If claim is
                                                  bank loans,    , or disputed   partially secured, fill in total claim amount
                                                  professional                     and deduction for value of collateral or
                                                 services, and                       setoff to calculate unsecured claim.
                                                  government
                                                   contracts)

                                                                                  Total         Deduction        Unsecured
                                                                                 claim, if      for value         Claim
                                                                                 partially          of
                                                                                 secured        collateral
                                                                                                             1
                                                                                                 or setoff

     JEFFERS
                          JOSHUA JEFFERS
     INDUSTRIES LLC
                          (P) 937-751-5465
     P.O. BOX 49233                                 Trade
11                        (E)                                                                                     $121,749
     WEST                                          Payable
                          JOSH@JEFFERSINDUS
     CARROLLTON, OH
                          TRIES.COM
     45449
     WPT INDUSTRIAL       MOLLY SCHUNEMAN
     LP                   (P) 612-800-8511
12   P.O. BOX 860648      (E)                       Lease                                                         $120,363
     MINNEAPOLIS, MN      MSCHUNEMAN@SPT
     55486-0648           REIT.COM
     DELTA SYSTEMS,
                          RENAE DANTONE
     INC.
                          (P) 330-422-2536
     26850 NETWORK                                  Trade
13                        (E)                                                                                     $105,451
     PLACE                                         Payable
                          RDANTONE@DELTAS
     CHICAGO, IL 60673-
                          YSTMSINC.COM
     1268
     MILLWRIGHT
                          DONNA S. RAVER
     INDUSTRIAL
                          (P) 812-593-2343
     SERVICES LLC                                   Trade
14                        (E)                                                                                     $102,677
     P.O. BOX 1                                    Payable
                          D.RAVER@MILLWRIG
     NEW LEBANON,
                          HTINDUSTRIAL.COM
     OH 45345
     MCNS
     POLYURETHANES        SANDRA SMITH
     USA INC              (P) 678-342-1606          Trade
15                                                                                                                 $89,700
     1 SKC DRIVE          (E)                      Payable
     COVINGTON, GA        SSMITH@MCNSKC.US
     30014
                          TERRY CARTER
     PLAS-TEC
                          (P) 419-272-2731
     601 W. INDIANA                                 Trade
16                        (E)                                                                                      $85,445
     STREET                                        Payable
                          TCARTER@PLASTEC
     EDON, OH 43518
                          CORP.COM
                          CHIP RINEHART
     HAHL, INC.
                          (P) 803-520-5356
     P.O. BOX 56346                                 Trade
17                        (E)                                                                                      $83,381
     ATLANTA, GA                                   Payable
                          MENDEL.RINEHART@
     30343
                          PERLON.COM
     MSC INDUSTRIAL       KRISTIN CHEEKS
     SUPPLY CO.           (P) 704-987-5256
                                                    Trade
18   P.O. BOX 953635      (E)                                                                                      $80,593
                                                   Payable
     ST. LOUIS, MO        KRISTIN.CHEEKS@MS
     63195-3635           CDIRECT.COM
     DUROSHOX             KIRAN NAIKADE
     PRIVATE LIMITED      (P) +91 2137 676421
                                                    Trade
19   1258 SANASWADI,      (E)                                                                                      $80,005
                                                   Payable
     NAGAR ROAD           LOGISTICS@DUROSH
     PUNE 412208, INDIA   OX.COM




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 Name of creditor and       Name, telephone       Nature of         Indicate if               Amount of claim
   complete mailing        number and email        claim             claim is
 address, including zip    address of creditor    (for example,    contingent,    If the claim is fully unsecured, fill in only
          code                  contact            trade debts,   unliquidated        unsecured claim amount. If claim is
                                                   bank loans,    , or disputed   partially secured, fill in total claim amount
                                                   professional                     and deduction for value of collateral or
                                                  services, and                       setoff to calculate unsecured claim.
                                                   government
                                                    contracts)

                                                                                   Total         Deduction        Unsecured
                                                                                  claim, if      for value         Claim
                                                                                  partially          of
                                                                                  secured        collateral
                                                                                                              1
                                                                                                  or setoff

     CHANGZHOU
     HUAYANG
     WANLIAN              LOUISE LI
     NO. 54 HEHUAN RD     (P) +86 0519-83909533
                                                     Trade
20   ZHONGLOU             (E)                                                                                       $79,076
                                                    Payable
     ECONOMIC             LOUISE_LI@JSCZHY.
     DISTRICT             COM
     CHANGZHOU,
     CHINA
                          NANCY FOLTZ
     PLASTOCON, INC.      (P) 262-569-3131 EXT
     P.O. BOX 83          1310                       Trade
21                                                                                                                  $74,262
     OCONOMOWOC,          (E)                       Payable
     WI 53066-0083        NANCY.FOLTZ@PLAS
                          TOCON.COM
     DEUTSCHE BANK
                          ALIRIO BRICENO
     AG, NEW YORK
                          (P) 212-509-614
     BRANCH                                          Trade
22                        (E)                                                                                       $70,474
     60 WALL STREET                                 Payable
                          ALIRIO.BRICENO@DB
     NEW YORK, NY
                          .COM
     10005
                          MIKE FRANCO
     ADP, INC.
                          (P) 915-490-2647
     P.O. BOX 842875                                 Trade
23                        (E)                                                                                       $69,135
     BOSTON, MA 02284-                              Payable
                          MIKE.FRANCO@ADP.
     2875
                          COM
     BLOW MOLDED          HANNA JACKSON
     SOLUTIONS            (P) 336-949-4107
                                                     Trade
24   P.O. BOX 37          (E)                                                                                       $67,563
                                                    Payable
     MAYODAN, NC          HANNA@BLOWMOLD
     27027                EDSOLUTIONS.COM
     833 EAST DP          PATRICK NOONAN
     DELAWARE, LLC        (P) 414-272-3833
25   P.O. BOX 603703      (E)                        Lease                                                          $62,404
     CHARLOTTE, NC        PATRICK.NOONAN@C
     28260-3703           OLLIERS.COM
     WELCH                AMY ELLIOTT
     PACKAGING            (P) 419-329-4204
                                                     Trade
26   P.O. BOX 856421      (E)                                                                                       $59,840
                                                    Payable
     MINNEAPOLIS, MN      ELLIOTTAL@WELCH
     55485-6421           PKG.COM
     QUARRYSIDE INC.
                          BJ WITTENBERG
     HORICON BANK,
                          (P) 920-419-2256
27   2251 OMRO ROAD                                  Lease                                                          $54,000
                          (E)
     OSHKOSH, WI
                          BJPAT@YMAIL.COM
     54904




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 Name of creditor and       Name, telephone       Nature of         Indicate if               Amount of claim
   complete mailing        number and email        claim             claim is
 address, including zip    address of creditor    (for example,    contingent,    If the claim is fully unsecured, fill in only
          code                  contact            trade debts,   unliquidated        unsecured claim amount. If claim is
                                                   bank loans,    , or disputed   partially secured, fill in total claim amount
                                                   professional                     and deduction for value of collateral or
                                                  services, and                       setoff to calculate unsecured claim.
                                                   government
                                                    contracts)

                                                                                   Total         Deduction        Unsecured
                                                                                  claim, if      for value         Claim
                                                                                  partially          of
                                                                                  secured        collateral
                                                                                                              1
                                                                                                  or setoff

     TRANS AMERICAN
     INFORMATION          JASON BOWLES
     SYSTEMS              (P) 615-540-4337
                                                     Trade
28   15601 DALLAS         (E)                                                                                       $53,260
                                                    Payable
     PARKWAY, SUITE       JASON.BOWLES@MA
     250                  STEK.COM
     ADDISON, TX 75001
     MAGNA MACHINE
                          KELLEY BROWN
     & TOOL CO., INC
                          (P) 765-766-5388
     3722 N. MESSICK                                 Trade
29                        (E)                                                                                       $52,660
     ROAD                                           Payable
                          KELLEYBROWN@MA
     NEW CASTLE, IN
                          GNAMACHINE.COM
     47362

                          AMY PODGORSKI
                          (P) 414-847-2293
                          (E)
     PIEDMONT
                          APODGORSKI@PIED
     PLASTICS
                          MONTPLASTICS.COM
     10880 KENWOOD                                   Trade
30                                                                                                                  $52,585
     RD                                             Payable
                          LISA GARREN
     CINCINNATI, OH
                          (P) 909-403-2904
     45203
                          (E)
                          LGARREN@PIEDMON
                          TPLASTICS.COM

     SEMO LLC             BRAD KOENIG
     STE 2 2201 N         (P) 217-342-4443
31   WILLENBORG ST        (E)                        Lease                                                          $50,536
     EFFINGHAM, IL        BKOENIG@AGRACEL.
     62401                COM
                          WILLIAM
     SCHAFFNER
                          SCHAFFNER
     PROPERTIES LLC
                          (P) 412-496-0061
32   116 DRAKE DRIVE                                 Lease                                                          $48,672
                          (E)
     WEXFORD, PA
                          WILLYSCHAFF@GMA
     15090
                          IL.COM
     JIULONG
     INDUSTRIAL CO.
                          JIMMY JIN
     LTD
                          (P) +86 159-6806-1808
     315612 SHANGPU                                  Trade
33                        (E)                                                                                       $46,184
     VILLAGE,                                       Payable
                          JYMJDPS@VIP.163.CO
     QIANGJIAO T
                          M
     NINGHAI, NINGBO,
     CHINA




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 Name of creditor and       Name, telephone      Nature of         Indicate if               Amount of claim
   complete mailing        number and email       claim             claim is
 address, including zip    address of creditor   (for example,    contingent,    If the claim is fully unsecured, fill in only
          code                  contact           trade debts,   unliquidated        unsecured claim amount. If claim is
                                                  bank loans,    , or disputed   partially secured, fill in total claim amount
                                                  professional                     and deduction for value of collateral or
                                                 services, and                       setoff to calculate unsecured claim.
                                                  government
                                                   contracts)

                                                                                  Total         Deduction        Unsecured
                                                                                 claim, if      for value         Claim
                                                                                 partially          of
                                                                                 secured        collateral
                                                                                                             1
                                                                                                 or setoff

     IMMI LTD
     UNIT 46,
     COLBOURNE CRES,      MAUREEN WALTON
     NELSON PARK IND      (P) +44 01670 501956
                                                    Trade
34   EST                  (E)                                                                                      $43,060
                                                   Payable
     CRAMLINGTON          MWALTON@IMMINE
     NORTHUMBERLAN        T.COM
     D NE23 1WD
     UNITED KINGDOM
     IMERYS FUSED
                          MELANIE BYRD
     MINERALS
                          (P) 716-286-1250 EXT
     2000 COLLEGE
                          274                       Trade
35   AVE, M.P.O. BOX                                                                                               $42,724
                          (E)                      Payable
     1438
                          MELANIE.BYRD@IME
     NIAGARA FALLS,
                          RYS.COM
     NY 14302




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                                SECRETARY CERTIFICATE

                                          June 18, 2020

The undersigned, Kevin Kuznicki, as the secretary or the authorized signatory, as applicable, of,
Jason Industries, Inc., Jason Partners Holdings, Inc., Jason Holdings, Inc. I, Jason Incorporated,
Milsco, LLC, Osborn, LLC, Schaffner Manufacturing Co., Inc., and Jason International
Holdings, Inc. (each, a “Company” and, collectively, the “Companies”), hereby certifies as
follows:

1.     I am the duly qualified and elected secretary or authorized signatory, as applicable, of the
       Companies and, as such, I am familiar with the facts herein certified and I am duly
       authorized to certify the same on behalf of the Companies.

2.     Attached hereto is a true, complete, and correct copy of the resolutions of the Companies’
       boards of directors, the manager, or sole member, as applicable (collectively,
       the “Board”), duly adopted at a properly convened and joint meeting of the Board of
       June 18, 2020, of each Company in accordance with the applicable limited liability
       company agreements, operating agreement, bylaws, or similar governing document (in
       each case as amended or amended and restated) of each Company.

3.     Since their adoption and execution, the resolutions have not been modified, rescinded, or
       amended and are in full force and effect as of the date hereof, and the resolutions are the
       only resolutions adopted by the Board of each Company relating to the authorization and
       ratification of all corporate actions taken in connection with the matters referred to
       therein.




                                    [Signature page follows]
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                   RESOLUTIONS APPROVED AT A JOINT MEETING


                                     Dated as of June 18, 2020

After due deliberation, the undersigned, being all of the members of the board of directors of Jason
Industries, Inc. (the “Corporation”), collectively, (the “Board”), hereby take the following actions
and adopt the following resolutions (the “Resolutions”) pursuant to the articles of incorporation
and bylaws and similar governing document (in each case as amended or amended and restated)
of the Corporation and the laws of the State of Delaware:

WHEREAS, the Board has considered presentations by the management and the financial and
legal advisors of the Corporation regarding the liabilities and liquidity of the Corporation and of
each of the entities set forth on Exhibit A attached hereto (each, a “Company,” and, collectively,
along with the Corporation, the “Companies”), the strategic alternatives available to each of them,
and the effect of the foregoing on the Companies’ business;

WHEREAS, the Board has had the opportunity to consult with the management and the financial
and legal advisors of the Companies and to fully consider each of the strategic alternatives
available to the Companies;

WHEREAS, the Board has reviewed and considered presentations by the management and the
financial and legal advisors of the Companies regarding that certain restructuring support
agreement, dated as of June 5, 2020 (the “Restructuring Support Agreement”) and the advantages
and disadvantages to the Companies soliciting acceptances of the prepackaged chapter 11 plan of
reorganization contemplated by the Restructuring Support Agreement (the “Plan”); and

WHEREAS, the Corporation and each of the Companies have executed the Restructuring Support
Agreement on June 5, 2020.

NOW, THEREFORE, BE IT,

RATIFICATION OF THE RESTRUCTURING SUPPORT AGREEMENT

RESOLVED, that in the business judgment of the Board, it is desirable, and in the best interests
of the Corporation and of each of the Companies pursuant to (as applicable) the limited liability
company agreement, operating agreement, bylaws, or similar governing document (in each case
as amended or amended and restated) of the Corporation and of each Company and the laws of the
state of formation of each Company as set forth next to each Company’s name on Exhibit A, their
creditors, and other parties in interest, to ratify the Companies’ entry into the Restructuring Support
Agreement in the form, term, and provisions presented to the Board.

COMMENCEMENT OF SOLICITATION

RESOLVED, that the Companies’ execution and delivery of, and its performance of its
obligations in connection with the Restructuring Support Agreement, including commencing
solicitation of the Plan, by sending all holders entitled to vote on the Plan the Disclosure Statement
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for the Joint Prepackaged Plan of Reorganization of Jason Industries, Inc. and its Debtor Affiliates
Pursuant to Chapter 11 of the Bankruptcy Code substantially in the form presented to the Board
on the date hereof.

CHAPTER 11 FILING

RESOLVED, that in the business judgment of the Board and of each governing body of the
Companies, it is desirable and in the best interests of the Corporation and of each Company
(including a consideration of its creditors and other parties in interest) that the Corporation and
each Company shall be, and hereby is, in all respects, authorized to file, or cause to be filed, a
voluntary petition for relief (the “Chapter 11 Case”) under the provisions of chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the bankruptcy court for the Southern
District of New York (the “Bankruptcy Court”) and any other petition for relief or recognition or
other order that may be desirable under applicable law in the United States.

RESOLVED, that any of the Chief Executive Officer, Chief Financial Officer, any Executive
Vice President, General Counsel, and Secretary or any other duly appointed officer of the
Corporation and of each Company (collectively, the “Authorized Signatories”), acting alone or
with one or more other Authorized Signatories be, and they hereby are, authorized, empowered,
and directed to execute and file on behalf of the Corporation and of each Company all petitions,
schedules, lists, and other motions, papers, or documents, and to take any and all action that they
deem necessary or proper to obtain such relief, including, without limitation, any action necessary
to maintain the ordinary course operation of the Corporation and of each Company’s business.

RETENTION OF PROFESSIONALS

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International LLP
(together, “Kirkland”) as general bankruptcy counsel to represent and assist the Corporation and
each Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance the rights and obligations of the Corporation and of each Company, including filing
any motions, objections, replies, applications, or pleadings; and in connection therewith, each of
the Authorized Signatories, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Kirkland.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of AlixPartners, LLP (“AlixPartners”) as restructuring advisor to the
Corporation and to each Company to represent and assist the Corporation and each Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance the
rights and obligations of the Corporation and of each Company; and in connection therewith, each
of the Authorized Signatories, with power of delegation, is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of AlixPartners.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm Moelis & Company LLC (“Moelis”), as financial advisor and

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investment banker to represent and assist the Corporation and each Company in carrying out its
duties under the Bankruptcy Code, and to take any and all actions to advance the rights and
obligations of the Corporation and of each Company; and in connection therewith, each of the
Authorized Signatories, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Moelis.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of Epiq Bankruptcy Solutions, LLC (“Epiq”) as notice and claims
agent to represent and assist the Corporation and each Company in carrying out its duties under
the Bankruptcy Code, and to take any and all actions to advance the rights and obligations of the
Corporation and of each Company; and in connection therewith, each of the Authorized
Signatories, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed appropriate applications
for authority to retain the services of Epiq.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ any other professionals to assist the Corporation and each Company in carrying
out its duties under the Bankruptcy Code; and in connection therewith, each of the Authorized
Signatories, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate
application for authority to retain the services of any other professionals as necessary.

RESOLVED, that each of the Authorized Signatories be, and they hereby are, with power of
delegation, authorized, empowered, and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
and to take and perform any and all further acts and deeds that each of the Authorized Signatories
deem necessary, proper, or desirable in connection with the Chapter 11 Case of the Corporation
and of each Company, with a view to the successful prosecution of such case.

CASH COLLATERAL AND ADEQUATE PROTECTION

RESOLVED, that the Corporation and each Company will obtain benefits from the use of
collateral, including cash collateral, as that term is defined in section 363(a) of the Bankruptcy
Code (the “Cash Collateral”), which is security for certain prepetition term lenders (the “Lenders”)
under: (i) that certain First Lien Credit Agreement dated as of June 30, 2014, among Jason
Incorporated, as lead borrower, the guarantors party thereto from time to time, the lenders party
thereto, and The Bank of New York Mellon (as successor in interest to Deutsche Bank AG New
York Branch) as administrative agent (together with the Lenders, the “Secured Parties”) and
(ii) that certain Second Lien Credit Agreement dated as of June 30, 2014, among Jason
Incorporated, as lead borrower, the guarantors party thereto from time to time, the lenders party
thereto, and The Bank of New York Mellon (as successor in interest to Deutsche Bank AG New
York Branch) as administrative agent (collectively, together with the Lenders, the “Secured
Parties”).



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RESOLVED, that in order to use and obtain the benefits of the Cash Collateral, and in accordance
with section 363 of the Bankruptcy Code, the Corporation and each Company will provide certain
liens, claims, and adequate protection to the Secured Parties (collectively,
the “Adequate Protection Obligations”), as documented in a proposed interim order
(the “Interim Cash Collateral Order”) and submitted for approval to the Bankruptcy Court.

RESOLVED, that the form, terms, and provisions of the Interim Cash Collateral Order to which
the Corporation and each Company is or will be subject, and the actions and transactions
contemplated thereby be, and hereby are authorized, adopted, and approved, and each of the
Authorized Signatories of the Corporation and of each Company be, and hereby is, authorized and
empowered, in the name of and on behalf of the Corporation and each Company, to take such
actions and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and
cause the performance of, the Interim Cash Collateral Order.

RESOLVED, that the Corporation and each Company, as debtors and debtors in possession under
the Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations,
including granting liens on its assets to secure such obligations.

GENERAL

RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) be,
and they hereby are, individually authorized and empowered, in the name of and on behalf of the
Corporation and of each Company, to take or cause to be taken any and all such other and further
action, and to execute, acknowledge, deliver, and file any and all such agreements, certificates,
instruments, and other documents and to pay all expenses, including but not limited to filing fees,
in each case as in such Authorized Signatory’s judgment, shall be necessary, advisable, convenient,
or desirable in order to fully carry out the intent and accomplish the purposes of the Resolutions
adopted herein.

RESOLVED, that each Governing Body of the Corporation and of each Company has received
sufficient notice of the actions and transactions relating to the matters contemplated by the
foregoing resolutions, as may be required by the organizational documents of the Corporation and
of each Company, or hereby waive any right to have received such notice.

RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of the Corporation and of each Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Corporation and of each Company with the same force and effect as
if each such act, transaction, agreement, or certificate has been specifically authorized in advance
by resolution of each Governing Body.

RESOLVED, that each of the Authorized Signatories (and their designees and delegates) be, and
hereby is, authorized and empowered to take all actions or to not take any action in the name of
the Corporation and of each Company with respect to the transactions contemplated by these
resolutions hereunder, as such Authorized Signatory shall deem necessary or desirable in such

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Authorized Signatory’s reasonable business judgment as may be necessary or convenient to
effectuate the purposes of the transactions contemplated herein.



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                                          Exhibit A

                                Company                            Jurisdiction
Jason Industries, Inc.                                              Delaware
Jason Partners Holdings, Inc.                                       Delaware
Jason Holdings, Inc. I                                              Delaware
Jason Incorporated                                                  Wisconsin
Milsco, LLC                                                         Delaware
Osborn, LLC                                                         Delaware
Schaffner Manufacturing Co., Inc.                                  Pennsylvania
Jason International Holdings, Inc.                                   Nevada
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                                SECRETARY CERTIFICATE

                                          June 23, 2020

The undersigned, Kevin Kuznicki, as the secretary or the authorized signatory, as applicable, of,
Jason Industries, Inc., Jason Partners Holdings, Inc., Jason Holdings, Inc. I, Jason Incorporated,
Milsco, LLC, Osborn, LLC, Schaffner Manufacturing Co., Inc., and Jason International
Holdings, Inc. (each, a “Company” and, collectively, the “Companies”), hereby certifies as
follows:

1.     I am the duly qualified and elected secretary or authorized signatory, as applicable, of the
       Companies and, as such, I am familiar with the facts herein certified and I am duly
       authorized to certify the same on behalf of the Companies.

2.     Attached hereto is a true, complete, and correct copy of the resolutions of the Companies’
       boards of directors, the manager, or sole member, as applicable (collectively,
       the “Board”), duly adopted at a properly convened and joint meeting of the Board of
       June 23, 2020, of each Company in accordance with the applicable limited liability
       company agreements, operating agreement, bylaws, or similar governing document (in
       each case as amended or amended and restated) of each Company.

3.     Since their adoption and execution, the resolutions have not been modified, rescinded, or
       amended and are in full force and effect as of the date hereof, and the resolutions are the
       only resolutions adopted by the Board of each Company relating to the authorization and
       ratification of all corporate actions taken in connection with the matters referred to
       therein.




                                    [Signature page follows]
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                   RESOLUTIONS APPROVED AT A JOINT MEETING


                                     Dated as of June 23, 2020

After due deliberation, the undersigned, being all of the members of the board of directors of Jason
Industries, Inc. (the “Corporation”), collectively, (the “Board”), hereby take the following actions
and adopt the following resolutions (the “Resolutions”) pursuant to the articles of incorporation
and bylaws and similar governing document (in each case as amended or amended and restated)
of the Corporation and the laws of the State of Delaware:

WHEREAS, the Board had previously considered presentations by the management and the
financial and legal advisors of the Corporation regarding the liabilities and liquidity of the
Corporation and of each of the entities set forth on Exhibit A attached hereto (each, a “Company,”
and, collectively, along with the Corporation, the “Companies”), the strategic alternatives
available to each of them, and the effect of the foregoing on the Companies’ business at a meeting
of the Board on June 18, 2020 (the “June 18th Meeting”), and concluded that the resolutions
adopted at the June 18th Meeting and the actions contemplated thereby (collectively, the “June
18th Meeting Resolutions”) were in the best interests of the Companies;

WHEREAS, in light of recent developments and the passage of time since the June 18th Meeting,
the Board determined and reaffirmed, in consultation with the management and the financial and
legal advisors of the Group Companies, that, further deliberation and consideration of the
transactions contemplated by the Restructuring Support Agreement and the Plan (each as defined
herein) was advisable and in the best interests of the Group Companies and its stakeholders;

WHEREAS, the Board has had the further opportunity to consult with the management and the
financial and legal advisors of the Companies and to fully consider each of the strategic alternatives
available to the Companies;

WHEREAS, the Board has further reviewed and considered presentations by the management and
the financial and legal advisors of the Companies regarding that certain restructuring support
agreement, dated as of June 5, 2020 (the “Restructuring Support Agreement”) and the advantages
and disadvantages to the Companies soliciting acceptances of the prepackaged chapter 11 plan of
reorganization contemplated by the Restructuring Support Agreement (the “Plan”), including the
propriety of the transactions contemplated by the Restructuring Support Agreement and the Plan;
and

WHEREAS, the Corporation and each of the Companies have executed the Restructuring Support
Agreement on June 5, 2020.

NOW, THEREFORE, BE IT, RESOLVED, that in the business judgment of the Board, the June
18th Meeting Resolutions are hereby ratified, confirmed, adopted and approved in all respects.

                                                ***
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                                         Exhibit A

                               Company                               Jurisdiction
Jason Industries, Inc.                                                Delaware
Jason Partners Holdings, Inc.                                         Delaware
Jason Holdings, Inc. I                                                Delaware
Jason Incorporated                                                    Wisconsin
Milsco, LLC                                                           Delaware
Osborn, LLC                                                           Delaware
Schaffner Manufacturing Co., Inc.                                    Pennsylvania
Jason International Holdings, Inc.                                     Nevada
